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UNITED STATES BANKRUPTCY COURT ELECTRONICALLY
DISTRICT OF NEVADA
MAY 06 2014

FILED

Inve: Anthony Thomas and Wendi Thomas Case No. 14-50333-BTB

CHAPTER il
MONTHLY OPERATING REPORT
(SMALL REAL ESTATEANDIVIDUAL CASE)

 

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; SUMMARY OF FINANCIAL STATUS /
oe 2 3 f— Bee i Af if
MONTHENDED: 32 729/-/> _PETITION DATE: 3 -ly- -[4
1, Debtor in possession (or trustee) hereby submits this Monthly Operating Report on the Accrual Basis of accounting (or if checked here

the Office of the U.S. Trustee or the Court has ss approved the Cash Basis of Accouniting for the Debtor).
Dollars reportedin $1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

End of Current End of Prior As of Petition
2. Asset and Liability Structure Month Month Filing
a. Current Assets S$ AQ ibe bo SEE 05
b. Total Assets SAD SO . Blo B50
c. Current Liabilities yg ge
d. Total Liabilities : g TRO BSCR
Camulative
3. Statement of Cash Receipts & Disbursements for Month (Case to Date)
a. Total Receipts
b, Total Disbursements
c. Excess (Deficiency) of Receipts Over Disbursements (a - b)
d, Cash Balance Beginning of Month
e. Cash Balance End of Month (e+ d)
Cumulative
current Month jor Mont (Case to Date)
4, Profit/(Loss) from the Statement of Operations ef fe}
5. Account Receivables (Pre and Post Petition) Sid Le
6.  Post-Petition Liabilities WE
7, Past Due Post-Petition Account Payables (over 30 days) . yh By
: ; _-
At the end of this reporting month: Yes No

8... Have any payments been made on pre-petition debt, other than payments in the normal Men
course to secured creditors or lessors? (if yes, attach listing including date of
payment, amount of payment and name of payee)

9. Have any payments been made to professionals? (if yes, attach listing including date of ya
payment, amount of payment and name of payee)

10. ifthe answer is yes to 8 or 9, were all such payments approved by the court? i

11. Have any payments been made to officers, insiders, shareholders, relatives? (if yes, : y

vv
Wf

 

 

 

attach listing including date of payment, amount. and reason for payment, and name of payee)
12. Is the estate insured for replacement cost of assets and for general liability? /
13. Are aplan and disclosure statement on file? Se
14. Was there any post-petition borrowing during this reporting period?

 

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15. Check if paid: Post-petition taxes U.S. Trustee Quarterly Fees X__; Check if filing is current for: Post-petition
tax reporting and tax returns:
(Attach explanation, if post-petition tax Taxes or US. Trustee Quarterly Fees are not paid current or if post-petition tax reporting and tax return
filings are not current.)

I declare under penalty of perjury I have reviewed the above summary and attached financial 7 and after making reasonable inquiry

-believe these documents are correct. f
Jha a do WU ge VA. a

Responsible ‘Individual

 

 

Revised 1/1/98

 
 

 

    

 

 

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esti ?
OTL gty eM ppt etl Upon eg Gta fatal lf ta fUNypagp peg fy tal Questions?
vz ANTHONY G THOMAS Available by phone 24 hours a day, 7 days a week:
97725 PEAVINE PEAK CT 1-800-TO-WELLS (1-800-869-3557)
RENO NV 89523-4914 TTY: 1-800-877-4833.

Enespafiol: 1-877-727-2932
- 3258 1-800-288-2288 (6 am to 7 pm PT, M-F)

Online: wellsfargo.com

Write: Wells Fargo Bank, N.A. (114)
P.O. Box 6995
Portland,.GK 97228-6995.

 

 

You and Wells Fargo. Account options

Important: The Direct Deposit Advance service will be discontinued on May 25, A check mark in the box indicates you have these
2014. Please review the statement message entitled “Important: Change in terms convenient services with your account(s). Go to
to the Direct Deposit Advance® service” for more information. wellsfargo.com or call the number above if you have

questions or if you wauld like ta add new services.

Online Banking [7] Direct Deposit C]
Online Bill Pay [7] Auto Transfer/Payment {7]
Online Statements — [] Overdraft Protection [7]
Mobile Banking [7] Debit Card

My Spending Report [7] Overdraft Service ]

 

: IMPORTANT ACCOUNT INFORMATION

Important: Change in terms to the Direct Deposit Advance? service for all accounts opened prior to February ist, 2014.

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(Note: This change does not impact your Direct Deposit, which is the electronic deposit of your paycheck or other recurring income.)

- Effective May 24, 2014, no new advances will be allowed on the Direct Deposit Advance service, The service will be discontinued after
that date.
~ Any accounts with outstanding advances as of May 25, 2014 will be placed into an extended repayment plan. Under the-extended
repayment plan, payments will be made in increments of $150 from each qualified repayment deposit until August 10, 2014.
- After August 10, any remaining balance will be paid in full from the next qualified repayment deposit or from the linked checking
account if no qualified repayment deposit is received prior to August 29, 2014.

- The daily expenses buffer will not apply during the extended repayment plan.
- The terms of the extended repayment plan will apply to any accounts in Payment Plan prior to May 25, 2014.
- If you use the Payment by Mail repayment method, your account will not be placed into the extended repayment plan. Your full
outstanding balance will be due as it is today.

 
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Primary account number: MRS S984 w February 15, 2014- March 14,2014 @ Page 2 of 7

 

 

All other terms of the Agreement remain unchanged.

Reminder: If your account is in the Automatic Deduction repayment. method and more than 35 days passes between qualified
repayment deposits, we will pay the full remaining amount from your checking account. Please watch for additional information on
your account statement, in the mail, or through email (if applicable) for further updates.

iF your account type.is excluded from use of the Direct Deposit Advance service or your account was opened ina state where the
service is not available, that has not changed, andthe discontinuation of the service will not affect you. If you have any questions or
need more information, please visit wellsfargo.com/checking/direct-deposit-advance. Or you can calf the Wells Fargo Phone Bank at
the number listed on the front of your statement.

 

We want to let you know about an important upcoming change.

Effective April 7, 2014, the fee for depositing international items, such as foreign checks, drafts and money orders drawn on banks
located outside the United States will be$5. This fee will be charged per item and will apply whether the international item is ina
foreign currency or U.S. dollars. Please note that international item fees do not apply to deposits of U. S. dollar items that are drawn on
U.S. banks.

If you have questions, please contact your local banker, or call the phone number listed at the top of your statement.

 

 

 

 

 

 

Summary of accounts
Checking/Prepaid and Savings
Ending balance Ending balance
Account Page Account number. last statement this statement
Complete Advantage*® Checking 2 an 5984 844,74 0.77
Wells Fargo Opportunity Checking 4 @mmmbs 437 0.00 43.83
Wells Fargo Money Market Savings 5 ammmmiboss5 152.26 0.00
Total deposit accounts $997.00 : $44.60
So
eS
&
nN
: ©
1 “1 S
Complete Advantage® Checking
Activity summary - f Account number; QBS984
~ Beginning balance on 2/15": . en SBA Tg os eee -ANTHONY.G-THOMAS .....
Deposits/Additions’ 10,213.27 California account terms and conditions apply
Withdrawals/Subtractions ~ 11,057.24 For Direct Deposit use
Ending balance on 3/14 $0.77 Routing Number (RTN): @gal2882
Overdraft Protection
Boeke

Your account is linked to the following for Overdraft Protection: vf, i

Savings - QQaaMMIANNEROS55

 

 

 
 

Primary account number: QMS 984

Case 14-50333-gs

 

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gm February 15,2014 - March 14, 2014 m Page 3 of 7

 

 

 

interest summary

Interest paid this statement $0.01
Average collected balance _ —_ $1,412.20 |
Annual percentage yield earned : / . . 0.01% ,
interest earned this statement period $0.01
interest paid this year $0.03
Total interest paid in 2013 $0,12

 

Transaction history

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LV ESSEZBOL

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtractions balance
2/18 Check Crd Purchase 02/13 Barnes & Noble #29 Reno NV 37.67
4342 S6RXXxxKB448 284044830405294 PMicC=5942 : cohen
2/18 Check Grd Purchase 02/14 Papa John's #03052 775-787-2999 NV 25.70 “
434256xxxxxx8448 30404506254 1409 7McC=5814
2/18 POS Purchase.- 02/15 Mach ID 000000 Wal Mart 3254 Reno NV “$6130 °°
8448 00000000943122981 7McC=5411
2/18 Check Crd Purchase 02/16 Century Theatres 4 Reno NV 49.75
4342 56xxxxxxX8448 464047634580606 (McC=7832
2/18 POS Purchase - 02/17-Mach ID 000000 Raley S 105 Reno NV 8448 77.31 598.18
00464049042372148 7McC=5411
2/19 POS Purchase - 02/19. Mach ID 000000 Wal! Mart Super Center 56.82 541.36
Reno NV 8448 0000000004 7872344 ?McC=5411
2/20 POS Purchase.-~ 02/20 Mach {D 000000 Safeway Store 1210.Reno 8.94" 532,42
oe _..._ NV 8448 0038405 1806914577 ?McC=5411 _.
2/27 POS Purchase - 02/21 Mach ID 000000 Mill End FabricsIncReno 36.55
NV 8448 00000000241979563 7McC=5949
2/21 POS Purchase - 62/21 Mach ID‘000000 Dollar Tree 02751 105 11.85
Reno NV 8448 00000000644761835 7McC=5331
2/21 POS Purchase - 02/21 Mach ID 000000 Wal Mart 3254 Reno NV 75,72 ~ 408.30
8448 .00000000354392210 7McC=5411
2/24 Check Crd Purchase 02/21 Qdoba #305 Reno NV 10.63
43425 6xxxxxxB448 38405268 1287914 7McC=5814 —_
2/24 POS Purchase - 02/24 Mach [D-000000 Scolari S Whse 6255 Sh 40.21 357,46
Reno NV 8448 00464056009479839 McC=$41)
2/25 POS Purchase - 02/25.Mach ID 000000 Scolari S Whse 6255 Sh 24,88 332.58
Reno NV:8448 0030405685 1609506 7McC=5411
~ 2/26 POS Purchase - 02/26.Mach ID 000000 Raley 5 105 Reno NV 8448 41.67 290.91
00464057738084531 7McC=5411
2/27 Deposit Made In A Branch/Store 10,000.00 10,290.91
2/28 Check Crd Purchase 02/27 Capital Insurance 831. 233-5500 CA 39.00
4342 56xxXxxxx8448 304058233 190114 7McC=6300 .
2/28 ‘Recurring Transfer to Thomas A Savings Ref #Ope8Dw/Gnr 75,00
XXXXXX0555
2/28 POS Purchase - 02/28 Mach ID 000000 Raley $ 105 Reno NV 8448 58.67
00304060024523006 7McC#5411
2/28 Withdrawal Made In A Branch/Store 5,000.00 5,118.24
3/3 Check Crd Purchase.03/01 Papa John's #03052 775-787-2999:NV 23.55
43425 6xxxxxx8448 584060007442480 7McC=5814
3/3 POS Purchase -03/02 MachiD 000000 Fred Meyerfred Meyer 30,63
Kennewick WA 8448 00384062 196474781 7McC=54114
3/3 Sierra Pacific P Sopc Pymt 01468569 600701 Wendi Thomas 401.06 4,663.00
3/4 Check Crd Purchase 03/02 Dish Network-One T 800-894-9131 CQ 116.54
434256xxxxxx8448 464060648477022 ?McC=4899
3/4 Withdrawal Made In.A Branch/Store 3,733.43 813.03
3/5 Check Crd Purchase 03/03 Cricket Debt - Sol 503-3530400 OR 36.00

434256xxxxxx8448 284062697647520 ?McC=8299 121042882DA

L2FOLO FEE 7OO COO NNN NNN NNNNNNNNNN O78iG0 LHLGEFOCod

 

 
 

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Primary account number: SEB 8984 we February 15, 2014- March 14, 2014 @ Page 4 of 7 /
| “| . Sf
AW
Transaction history (continued) -
Check Deposits/. Withdrawals/ Ending daily
Date . Number Description Additions Subtractions balance
3/5 POS Purchase - 03/05 Mach [D 000000 Dollar Tree 02751 105 25.31
oo Reno NV 8448 00000000844482747 ?7McC=5331

3/5 POS Purchase - 03/05 Mach ID 000000 Savernart 555 Reno NV 49.22

Reno NV 8448 0038406500976 1845 7McC=5411
3/5 POS Purchase - 03/05 Mach ID’000000 Raley S 105 Reno NV 8448 51,67

00304065026656874 ?7McC=5411
3/5 a Kohl's Dept Strs Chg Pymt 140304 943000094204768 Thomas 42.00 608.83

Wendi .
3/7 Deposit Made In A Branch/Store 186.00 794,83
3/10 Withdrawal Made In A Branch/Store 50,00
3/10 Withdrawal Made In A Branch/Store 543.83 207,00
3/11 Check Crd Purchase 03/07 Gsusa 272-852-5048 NY 15,00 186.00

434256xxxxxx8448 4640657 15454309 7McC=8398 121042882DA
3/12 Withdrawal Made In A Branch/Store 200.00
3/12 Overdraft Protection From.6428260555 25.06 -” . .
3/12 Overdraft Transfer Fee 12,50 -1.50
3/13 Overdraft Protection From 6428260555 2.26 0.76
3/14 Interest Payment 0.01 0.77
Ending balance on:3/14 , 0.77
Totals $10,213.27 $11,057.24

The Ending Daily Balance does not reflect any pending withdrawals or holds on. deposited funds that may have-been outstanding on your account when your
transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.

 

banking and go to your account summary page. Check it out today.

 

MPORTANT ACCOUNT INFORMATION

Amendment to Funds Availability Policy - Check Deposits. at a Wells Fargo ATM

Effective March 16, 2014, we will increase the amount of your deposit that is made immediately available to you when
you make a-check deposit at a Wells Fargo ‘ATM. The first $200 of aday's check deposits made at a Wells Fargo ATM will
be immediately available for your use or withdrawal-on the day we receive the deposit. Cash deposits made at a Wells

Fargo-ATM are always: immediately available.

Did-you know that you can-review.your, safe deposit b box information through Wells. Fargo Online Banking? Sign on to online

 

Wells Fargo Opportunity Checking™

 

 

Activity summary
Beginning balance on 3/7 $0.00
Deposits/Additions : 943,83
Withdrawals/Subtractions ~ 900.00
Ending balance on 3/14. ~ $43.83

 

| Account number: QRME§S437

| ANTHONY G THOMAS
| DEBTOR IN POSESSION
| CH 11 CASE #14-50333 (NV)

| Nevada account terms and conditions apply

For Direct Deposit use

| Routing Number (RTN): @qgqam0742

Q
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a
ae
Nm
NM

 

 

 

 
 

 

 

 

 

Overdraft Protection
This account is not. currently covered by Overdraft Protection, f you would like more information regarding Overdraft Frotection-and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.

 

Transaction history

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtractions balance
3/7 Deposit Made In A Branch/Store 543.83 543.83
3/14 Deposit Made In A Branch/Store . 200.00 .
3/11 Deposit: Made In A Branch/Store 200.00 . 943.83
3/12 Withdrawal Made In A Branch/Store 00.00 443.83
3/13 Cash eWithdrawalin Branch/Store - 6255 Sharlands Ave Reno NV 400.00 43.83

0222

Ending balance on 3/14 ; 43.83
Totals enn ga BR SOGU.00 *

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding.on your account when your
transactions posted. if you had insufficient available funds when a transaction posted, fees may have been assessed.
Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to.common questions about the monthly service fee on your account.

Fee period 03/07/2014 - 03/14/2014 Standard monthly service fee $12.00 You paid $0.00

Your fee waiver is about to expire. You will need to meet'the requiremient(s) to avoid the monthly service fee. You have up to 90 calendar days from
03/07/2014 to complete the package requirements, . . ,

How.to-avoid the monthly service fee (complete 1 AND 2) Minimum required This fee period
1) Have any ONE of the following account requirements
+ Minimum daily balance $2,000.00 $43.83 []
- Total amount of qualifying direct deposits $750.00 _ $0.00
» Total number of Wells Fargo debit card purchases and/or payments 10 ot]
2) Complete the package requirements
> Have qualifying linked accounts.or services in separate categories* 3 QO

 

Monthly service fee discount(s) (applied when box is checked)
Online only statements ($2.00 discount) oO

*Includes Wells Fargo.consumer accounts and services such as debit card, savings accounts, active Online Banking, credit card, loans and lines of credit.
JLAL

 

EL2596c801L E@rOLO FLL 700 E00 NNN NNN NNNNNNNNNN OF8100 FHIGEHDOQOG

 

Wells Fargo Money Market Savings™

 

   

 

Activity summary | Account number: QOS 55
Beginning balance on 2/15 $152.26 ANTHONY G THOMAS
Deposits/Additions 75.00 | California account terms and conditions apply
Withdrawals/Subtractions - 227.26 | For Direct Deposit use
Ending balance on 3/14 $0.00 | Routing Number (RTN): 42882
 

 

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Primary account number: Somms954 « wi February 15,2014 - March 14, 2014 |

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interest summary

Interest paid:this statement $0.00
Average collected balance $82.45
Annual percentage yield earned 0.00%
interest earted this statement period $0.00
Interest paid this year $0.01
Total interest paid. in.2013 $0.05

 

Transaction history

 

 

 

 

 

 

 

 

Deposits/ Withdrawals/ Ending daily
DMO 55. EIOSCUBUON so reccoensirses 5 anne ear ote Additions Subtractions balance
2/28 Recurring Transfer From “Thomas A Complete Advantage(Rm) Ret 75,00

#Ope8Dw7 Grrr xxxxxx8984

2/28 Cash eWithdrawal in Branch/Store - 6255 Sharlands Ave Reno.NV 5407 200,00 27.26
3/13 “# Overdraft Protection to 25.00 2.26
3/14 * Overdraft Protection to SagmmB984 2.26 0.00
Ending balance on 3/14 0.00
Totals $75.00 $227.26

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your

trarisactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.

% Indicates transactions that count toward Federal Reserve Bourd Regulation D lirnits, Please refer to your Account Agreement for complete details of the

federally-mandated transaction limits for savings accounts,

Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to.a banker. Go to wellsfargo.com/feefag to find answers to common questions about the monthly service fee on-your account.

 

Fee period 02/15/2014 - 03/14/2014 Standard monthly service fee $10.00 You paid $0.00 _
How to avoid the monthly service fee , Minimum required This fee period
Have any ONE of the following account requirements

: Minimum daily balance ‘ $3,500.00 $0.00 [J

+ Monthly automatic transfer frorn a Wells Fargo checking account $75.00 $75.00 [7]

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Worksheet to balance your account General statement policies for Wells Fargo Bank
Follow the steps below-to reconcile your statement balance with your @ To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest Consumer Reporting Agency about your accounts. You have the right to
paid into your account and any service charges, automatic payments or dispute the accuracy of information that Wells Fargo Bank, N.A. has
ATM transactions withdrawn from your:account during this statement furnished to.a.consumer reporting agency by writing to us at Wells Fargo
period. Servicing, P.O. Box 14415, Des Moinas, IA 50306-3415. Please describe the
[A] Enter the ending balance on this statement, $ specific information that is inaccurate or in dispute and the basis for the

dispute along with supporting documentation. If you believe the
List outstanding deposits and other information furnished is the result of identity theft, please provide us with

credits to your account that do not appear on an identity theft report.

is statement, Enter the total j u . aoe
this statement. Enter the total in the column B Incase of errors or questions about your electronic transfers,

to the.right. telephone us at the number printed on the front of this statement or write
us at. Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
you can, if you think your statement or receipt is wrong or if you need more
| information about a transfer on the statement or receipt. We must hear
from you no later than 60 days after we sent you the FIRST statement on

| which the error or problem appeared.

 

Description Amount

 

 

 

Jo / . 1. Tell us your name and account number (if any). .
| To “ “2. Describé thé érror 6 the transfer yourare unsure about, and-explain-as
Total |$ | " > + clearly as you can why you believe it is.an error or why you need more
information.
: 3. Tell us the dollar amount of the suspected error.

 

 

 

 

 

 

[¢] Add[A] and [B] to calculate the subtotal. = § _
We will investigate your complaint and will correct any error promptly. If

[Dd] List outstanding checks, withdrawals, and we take more than 10 business days to do this, we will.credit your account
other debits to. your account that do not appear for the amount you think is in error, so that you will have the use of the
on this statement, Enter the total in the column money during the time it takes us to complete our investigation.

to the right. wa incase of errors or questions about your Direct Deposit Advance®

service
Number/Description Amount
If you think your bill is wrong, or if you need more information about a

transaction on your bill, write us at Wells Fargo Bank, P. 0. Box 6995,
Portland, OR 97228-6995 as saon as possible. We must hear. from you no
later than 60 days after we sent you the first bill on which the error or
probiem appeared, You can telephone us, but doing so will not preserve
your rights.

in your letter, give. us the following information:

1. Your name and account number

2, The dollar-arnount of the suspected error : ,

3, Describe the error and explain, if you can, why you believe there is an
error. If you need more information, describe the item you are unsure
about.

You do not have to pay any amount in question while we are investigating,
but you are still obligated to pay the parts of your bill that are not in
question. While we investigate your question, we cannot report you as
delinquent or take any action to collect the amount you question.

 

Total | § |

[E| Subtract [DB] from|[C] to calculate the
adjusted ending balance. This amount should be

the same as the current balance shown in your
register. = Bl €2010 Wells Fargo Bank, N.A. All rights reserved. NMLSRID 399801 Member EDIC, i

  

 

 

 

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DCDG11DTLP 013906 Questions?
glEREs phecT]EP TED Pally [feet Eola gyag tye l fed pegyd gl [ atl ily . .
“ute ANTHONY G THOMAS Available by phone 24 hours a day, 7 days a week:
‘SBE 7795 PEAVINE PEAK CT 1-800-TO-WELLS (1-800-869-3557)
RENO NV 89523-4914 TTY: 1-800-877-4833
En espanol: 1-877-727-2932
aaa 1-800-288-2288 (6 am to 7 pm PT, M-F)
Online: wellsfargo.com
Write: Wells Fargo Bank, N.A. (114)
P.O. Box 6995
Portland, OR: 97228-6995
You and Wells Fargo Account options
Thank you for being a loyal Wells Fargo customer. We value your trust in our A check mark in the box indicates you have these
company and look forward to continuing to serve you with your financial needs. convenient services with your account(s). Go to

wellsfargo.com or call the number above if you have
questions or if you would like to add new services.

Online Banking {/| Direct Deposit [|
Online Bill Pay [7] Auto Transfer/Payment [_]
Online Statements ["] Overdraft Protection [_]
Mobile Banking Debit Card

My Spending Report Overdraft Service im

 

Considering buying your first or next home?
Whether you're just in the planning stage or you've already started looking for a home, give us a call at 1-866-582-1253 and we'll help

guide you through the process.

 

Summary of accounts

 

Checking/Prepaid and Savings

Ending balance Ending balance
Account Page Account number last statement this statement
Complete Advantage” Checking 2 Gs 084 0.77 0.00
Wells Fargo Opportunity Checking™ 3 aa3437 43,83 0.00
Wells Fargo Money Market Savings™ 4 ammo 55 0.00 . 0.00

 

Total deposit accounts $44.60 $0.00

 

@LEvVLGVEOL LGL880 PF! £00 LOO NNN NNN NNNNNNNNNN 966610 giaiipaea
 

Case 14-50333-gs Doc 62 Entered 05/06/14 14:09:39
Primary account number: MM S984 gy March 15, 2014 - April 14, 2014 ~ Page 2o0f5

 

 

Complete Advantage® Checking

 

 

 

Activity summary | Account number: @EBS984
Beginning balance on 3/15 . $0.77 ANTHONY G THOMAS
Deposits/Additions 0.00 i California account terms and conditions apply
Withdrawals/Subtractions - 0.77 [| For Direct Deposit use
Ending balance on 4/14 $0.00 | Routing Number (RTN): 121042882
Overdraft Protection

This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store. ,

 

interest summary
interest paid this statement $0.00
Average collected balance $0.32
Annual percentage yield earned 0.00%
Interest earned this statement period $0.00
Interest paid this year $0.03

 

Transaction history

 

 

 

Check / . Deposits/ Withdrawals/ Ending daily.
Date Number Description ; Additions Subtractions balance
3/31 Transfer iN Branch/Store - From Anthony G Thomas DDA 0.77 0.00
XXXxXxx8984-401 Keystone Ave Reno NV
Ending balance on 4/14 0.00 2
Totals $0.00 $0.77 =
rm

The Ending Daily Balance does not reflect any pending withdrawals or holds an deposited funds that may have been outstanding on your account when your
transactions posted. Ifyou had insufficient available funds when a transaction posted, fees rnay have been assessed.

 

Did you know that you can review your safe deposit box information through Wells Fargo Online Banking? Sign sii to online
banking and go to your account summary page. Check it out today.

 

 

IMPORTANT ACCOUNT INFORMATION

 

Amendment to Funds Availability Policy - Check Deposits at a Wells Fargo ATM

Effective March 16, 2014, we will increase the amount of your deposit that is made immediately available to you when
you make a check deposit at a Wells Fargo ATM. The first $200 of a day's check deposits made at a Wells Fargo ATM will
be immediately available for your use or withdrawal on the day we receive the deposit. Cash deposits made at a Wells
Fargo ATM are always immediately available.

 
     

   

Primary account number: SMM S984 py March 15, 2014- April 14, 2014 @ Page 3 of 5

 

 

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KA v

 

 

jalls Fargo Opportunity Checking™

 

Account number: QMS 437

 

Activity summary i
Beginning balance on 3/15 , , $43.83 ANTHONY G THOMAS
Deposits/Additions oe 0.77 chticase 414 50333 ny
Withdrawals/Subtractions ~ 44.60 " (Nv)
| Nevada account terms and conditions apply
Ending balance on 4/14 $0.00 i

| For Direct Deposit use
# Routing Number (RTN): QmO742

 

Overdraft Protection
This account is:not currently covered by Overdraft Protection. {f you would like more information regarding Overdraft Protection and eligibility requirements
please call the number fisted on your statement or visit your Wells Fargo store,

 

Transaction history

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtractions balance
3/28 Transfer IN Branch/Store - to Anthony G Thomas DDA xx0xx8437 0.77
401 Keystone Ave Reno NV
3/28 Transfer IN Branch/Store - From Anthony G Thomas DDA 44.60 0,00
xx00006437 401 Keystone Ave Remo NV pet aop spp puis
Ending balance on 4/14 0.00
Totals $0.77 $44.60

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
transactions posted: If you had insufficient available funds when a transaction posted, fees may have been assessed.

Monthly service fee summary

£00 cO00 NNN NNN NNNNNNNNNN 906650 dULGLLOGOG

For a complete list of fees and detailed account information, please see the Wells: Fargo Fee and Information Schedule and Account Agreement applicable to

 

 

your account or talk to a banker, Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account. é
8
ut

Fee period 03/15/2014 - 04/14/2014 Standard monthly service fee $12.00 You paid $0,00 “
Your fee waiver is about to expire. You will need to meet the requirement(s) to avoid the monthly service fee. You have up to 90 calendar days from @
03/07/2014 to complete the package requirements. =
a

How to avoid the monthly service fee (complete 1 AND 2) Minimum required This fee period x
1) Have any ONE of the following account requirements

+ Minimum daily balance $2,000.00 $0.00 (J

» Total ammount of qualifying direct deposits $750.00 $0,00 []

+ Total number of Wells Fargo debit card purchases and/or payments 10 0
2) Complete the package requirements

« Have qualifying linked accounts or services in separate categories* / 3 |

 

Monthly service fee distount(s) (applied when box is checked)

Online only statements ($2.00 discount) Cr

ALL

 
 

     

Case 14-50333-gs Doc 62 Entered 05/06/14 14:09:39 Page 12 of 21

Primary account number: SBBE984 Bw March 15, 2014- April 14,2014 m Page 40f 5

 

 

 

 

 

 

 

& Su
Wells Fargo Money et Savings
Activitysummary
Beginning balance on 3/15 $0.00
Deposits/Additions 0.00
Withdrawals/Subtractions ~ 9.00
Closing balance on 3/28 $0.00
Interest summary
Interest paid this statement $0.00
Average collected balance $0.00
Annual percentage yield earned 0,00%
Interest. earned this statement period $0.00
interest paid this year $0.01

 

| Account number: MBO 555

ANTHONY G THOMAS

California account terms.and conditions apply

| For Direct Deposit use
| Routing Number (RTN): M2882

PSieeo

a
»
tomer
 

Primary account number: SESS4 gw March 15, 2014 - April 14,2014 @ Page 5 of 5 ri

 

Case 14-50333-gs Doc 62 Entered 05/06/14 14:09:39 Page 13 of 21

 

  

 

Worksheet to balance your account

Follow the steps below to reconcile your statement balance with your
account register balance. Be sure that your register shows any interest
paid into your.account and any service charges, automatic payments or
ATM transactions withdrawn from your account during this statement

period,
[A] Enter the ending balance on this statement.

List outstanding deposits and other
credits to your account that do not appear on
this statement. Enter the total in the column
to the right.

 

Amount

Description

 

 

 

 

 

 

Total.| $ |

 

 

 

Add{A] and [B] to calculate the subtotal,

[D] List outstanding checks, withdrawals, and
other debits to your account that do not appear
on this statement. Enter the total in the column
to the right.

Number/Deseription Amount

Total) $ |

; [E] Subtract [D] from[C] to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.

 

 

 

General statement policies for Wells Fargo Bank

@ Te dispute or report inaccuracies in information we have furnished to a-

Consumer Reporting Agency about your accounts. You have the right to
dispute the accuracy of information that:Wells Fargo Bank, N.A. has
furnished to a consumer reporting agency by writing to us at Wells Fargo
Servicing, P.O. Box 14415, Des Moines, |A 50306-3415. Please describe the
specific information that is inaccurate or in dispute and the basis for the
dispute along with supporting documentation. If you believe the
information furnished is the result of identity theft, please provide us with
an identity theft report.

in case of errors or questions about your electronic transfers,

telephone us-at the number printed on the front of this statement or write

us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
you can, if you think-your statement or receipt is wrong or if you need more -
information about a transfer on the statement or receipt. We must hear
from you no later than 60 days after we sent you the FIRST staternent on
which the error or problem appeared.

1. Tell us your name and account number (if any).

2. Describe the error or the transfer you'are unsure about; and expiain as
clearly as you can-why you believe it is an error or why youneed more .
information. ,

3. Tell us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly, If
we take more than 10 business days to do this, we will credit your account
for the amount you think is in error, so that you will have the use of.the
money during the time it takes us to complete our investigation.

In case of arrors or questions about your Direct Deposit Advance®
service

If you think your bill is wrong, or if you need more information about a
transaction on your bill, write us at Wells Fargo Bank, P. O. Box 6995,
Portland, OR 97228-6995 as soon as possible. We must hear from you no
later than 60 days after we sent you the first bill on which the error or
problem appeared. You can telephone us, but doing so will not preserve
your rights.

In your letter, give us the following information:

1. Your name and account number

2. The dollar amount of the suspected error

3. Describe the error and explain, if you can, why you believe there is an
error. If you need more information, describe the item you are unsure
about.

You do not have to pay any amount in.question while we are investigating,
but you are still obligated to pay the parts of your bill that are-not in
question. While we investigate your question, we cannot report you as
delinquent or take any action to collect the amount you question.

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______Wells Fargo Way2Save’ Checking

 

Account number: @HRB4981 sm ~March 28, 2014 - April 4,2014 m Page 1 of 4

 

Questions?
ANTHONY G THOMAS Available by phone 24 hours a day, 7 days a week:
WENDI L THOMAS 1-800-TO-WELLS (1-800-869-3557)
DEBTOR IN POSSESSION TTY: 1-800-877-4833
CH 11 CASE# 14-50333 (NV) En espafiol: 1-877-727-2932
7725 PEAVINE PEAK CT #278 1-800-288-2288 (6am to 7 pm PT, M-F)

RENO NV 89523-4914
Online: wellsfargo.com
Write: Wells Fargo Bank, N.A. (825)

P.O. Box 6995
Portland, OR 97228-6995

 

 

You and Wells Fargo Account options
Thank you for being a loyal Wells Fargo customer. We value your trust in our A check mark in the box indicates you have these
company and look forward to continuing to serve you with your financial needs. convenient services with your account(s). Go to

wellsfargo.com or call the number above if you have
questions or if you would like fo add new services.

SN

Online Banking
Online Bill Pay

Direct Deposit |

Auto Transfer/Payment
Online Statements Overdraft Protection
Mobile Banking Debit Card

My Spending Report Overdraft Service [|

 

Considering buying your first or next home?
Whether you're just in the planning stage or you've already started looking for a home, give us a call at 1-866-582-1253 and we'll help
guide you through the process.

 

 

Activity summary Account number: @4981
Beginning balance on 3/28 $0.00 ANTHONY G THOMAS
Deposits/Additions 2,220.62 WENDIL THOMAS
Withd Is/Subtracti 243.93 DEBTOR IN POSSESSION

—————— __—— CH 11 CASE# 14-50333 (NV)
Ending balance on 4/4 $1,976.69

Nevada account terms and conditions apply

For Direct Deposit use
Routing Number (RTN): 4@gyo742

Overdraft Protection

Your account is linked to the following for Overdraft Protection:

. Savings - QQNMHO078

(825)
Sheet Seq = 0007694
Sheet 00001 of 00002
       

 

Case 14-50333-gs Doc 62 Entered 05/06/14 14:09:39 Page 15 of 21

 

Account number: MM§4981) som ~March 28, 2014-April4, 2014 = Page 2 of 4

 

   

 

 

Transaction history

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtractions balance
3/28 Transfer IN Branch/Store - to Anthony G Thomas DDA xxxxxx4981 44,60
401 Keystone Ave Reno NV
3/28 Deposit Made In A Branch/Store 25.00 69.60
3/31 Recurring Transfer to Thomas A Way2Save Savings Ref 25.00 44.60
#Opek4Bzirt xxxxxx0078
4/2 Deposit Made In A Branch/Store 2,151.02 2,195.62
4/3 POS Purchase - 04/03 Mach !D 000000 Ross Stores 855 Reno NV 6.45
3910 00000000030319107 ?McC=5310
4/3 POS Purchase - 04/03 Mach ID 000000 Wal Mart 3254 Reno NV 149.09
3910 00000000850335173 ?McC=5411
413 POS Purchase - 04/03 Mach ID 000000 Raley S 105 Reno NV 3910 22.99 2,017.09
00584093726356913 ?7McC=5411
4/4 POS Purchase - 04/04 Mach ID 000000 Scolari S Whse 6255 Sh 40.40 1,976.69
Reno NV 3910 00304094861501854 ?McC=5411
Ending balance on 4/4 1,976.69
Totals $2,220.62 $243.93

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.

Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account.

Fee period 03/28/2014 - 04/04/2014 Standard monthly service fee $12.00 You paid $0.00

 

Your fee waiver is about to expire. You will need to meet the requirement(s) to avoid the monthly service fee.

 

How to avoid the monthly service fee (complete 1 AND 2) Minimum required This fee period
1} Have any ONE of the following account requirements
+ Minimum daily balance $2,000.00 $44.60 J
- Total amount of qualifying direct deposits $750.00 $0.00 LJ
* Total number of Wells Fargo debit card purchases and/or payments 10 40
Linked Wells Fargo credit card qualified purchase transaction 3 ou
- Linked Wells Fargo credit card total qualified purchases $300.00 $0.00 LJ
2) Complete the package requirements
Have qualifying linked accounts or services in separate categories* 3 VY

 

Monthly service fee discount(s) (applied when box is checked)
Online only statements ($2.00 discount) Vv

 

*Includes Wells Fargo consumer accounts and services such as debit card, savings accounts, active Online Banking, credit card, loans and lines of credit.
JCLIC

 

7 Did you know that you can review your safe deposit box information through Wells Fargo Online Banking? Sign on to online
banking and go to your account summary page. Check it out today.
   

       

Case 14-50333-gs Doc 62 Entered 05/06/14 14:09:39 Page 16 of 21

 

 

Account number: @jygr4981 0m March 28, 2014 - April 4, 2014 = Page 3of4

 

 

 

IMPORTANT ACCOUNT INFORMATION

Amendment to Funds Availability Policy - Check Deposits at a Wells Fargo ATM

Effective March 16, 2014, we will increase the amount of your deposit that is made immediately available to you when

you make a check deposit at a Wells Fargo ATM. The first $200 of a day's check deposits made at a Wells Fargo ATM will
be immediately available for your use or withdrawal on the day we receive the deposit. Cash deposits made at a Wells
Fargo ATM are always immediately available.

Sheet Seq = 0007695
Sheet 00002 of 00002
   

 

   

 

Account number: @§4981) sm March 28, 2014- April 4, 2014 = Page 4 of 4

 

 

 

Worksheet to balance your account

Follow the steps below to reconcile your statement balance with your
account register balance. Be sure that your register shows any interest
paid into your account and any service charges, automatic payments or
ATM transactions withdrawn from your account during this statement

period.
Enter the ending balance on this statement.

List outstanding deposits and other
credits to your account that do not appear on
this statement. Enter the total in the column
to the right.

Description Amount

Total | $ |

Add [A] and to calculate the subtotal.

[D] List outstanding checks, withdrawals, and
other debits to your account that do not appear
on this statement. Enter the total in the column
to the right.

 

Number/Description Amount

Total | $ |

[E] Subtract [D] from to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.

 

g$|

 

General statement policies for Wells Fargo Bank

au To dispute or report inaccuracies in information we have furnished to a
Consumer Reporting Agency about your accounts. You have the right to
dispute the accuracy of information that Wells Fargo Bank, N.A. has
furnished to a consumer reporting agency by writing to us at Wells Fargo
Servicing, P.O. Box 14415, Des Moines, IA 50306-3415. Please describe the
specific information that is inaccurate or in dispute and the basis for the
dispute along with supporting documeniation. if you believe the
information furnished is the result of identity theft, please provide us with
an identity theft report.

m= Incase of errors or questions about your electronic transfers,
telephone us at the number printed on the front of this statement or write
us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
you can, if you think your statement or receipt is wrong or if you need more
information about a transfer on the statement or receipt. We must hear
from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

41. Tell us your name and account number (if any).

2. Describe the error or the transfer you are unsure about, and explain as
clearly as you can why you believe it is an error or why you need more
information.

3. Tell us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly. If
we take more than 10 business days to do this, we will credit your account
for the amount you think is in error, so that you will have the use of the
money during the time it takes us to complete our investigation.

m_ Incase of errors or questions about your Direct Deposit Advance”
service

If you think your bill is wrong, or if you need more information about a
transaction on your bill, write us at Wells Fargo Bank, P. O. Box 6995,
Portland, OR 97228-6995 as soon as possible. We must hear from you no
later than 60 days after we sent you the first bill on which the error or
problem appeared. You can telephone us, but doing so will not preserve
your rights.

In your letter, give us the following information:

1. Your name and account number

2. The dollar amount of the suspected error

3. Describe the error and explain, if you can, why you believe there is an
error. If you need more information, describe the item you are unsure
about.

You do not have to pay any amount in question while we are investigating,
but you are still obligated to pay the parts of your bill that are not in
question. While we investigate your question, we cannot report you as
delinquent or take any action to collect the amount you question.

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_____Wells Fargo Way2Save*® Savings _

Account number: @@MM0078 =m March 28, 2014 - March 31,2014 m Page 1 of 4

ANTHONY G THOMAS
WENDI L THOMAS

DEBTOR IN POSSESSION
CH 11 CASE #14-50333 (NV)
7725 PEAVINE PEAK CT
RENO NV 89523-4914

 

 

Questions?
Available by phone 24 hours a day, 7 days a week:
1-800-TO-WELLS (1-800-869-3557)

TTY: 1-800-877-4833
En espafiol: 1-877-727-2932

#275 1-800-288-2288 (6 am to 7 pm PT, M-F)

Online: wellsfargo.com

Write: Wells Fargo Bank, N.A. (825)
P.O. Box 6995
Portland, OR 97228-6995

 

You and Wells Fargo

Thank you for being a loyal Wells Fargo customer. We value your trust in our company and look forward to continuing to serve you with

your financial needs.

IMPORTANT ACCOUNT INFORMATION

We want to let you know about an important upcoming change.

Effective April 7, 2014, the fee for depositing international items, such as foreign checks, drafts and money orders drawn on banks
located outside the United States will be $5. This fee will be charged per item and will apply whether the international item is in a
foreign currency or U.S. dollars. Please note that international item fees do not apply to deposits of U.S. dollar items that are drawn on

U.S. banks.

If you have questions, please contact your local banker, or call the phone number listed at the top of your statemen t.

 

Activity summary

 

Beginning balance on 3/28 $0.00

Deposits/Additions 25.00

Withdrawals/Subiractions - 0.00

Ending balance on 3/31 $25.00
(825)

Sheet Seq = 0039027
Sheet 00001 of 00002

Account number: @@gjpo078

ANTHONY G THOMAS
WENDI L THOMAS

DEBTOR IN POSSESSION
CH 11 CASE #14-50333 (NV)

Nevada account terms and conditions apply

For Direct Deposit use
Routing Number (RTN): <@i0742
     

Case 14-50333-gs Doc 62 Entered 05/06/14 14:09:39 Page 19 of 21

 

Account number: @MMMBOO78 =m March 28, 2014 - March 31,2014 m= Page 2 of 4

 

 

 

 

Interest summary

Interest paid this statement $0.00
Average collected balance $6.25
Annual percentage yield earned 0.00%
Interest earned this statement period $0.00
Interest paid this year $0.00
Total interest paid in 2013 $0.00

 

Transaction history

 

 

 

Deposits/ Withdrawals/ Ending daily
Date Description Additions Subtractions balance
3/31 Recurring Transfer From Thomas A Way2Save Checking Ref #Opek4Bzirt 25.00 25.00
XXXXXX498 1
Ending balance on 3/31 25.00
Totals $25.00 $0.00

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.
Monthly service fee summary
For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account.
Fee period 03/28/2014 - 03/31/2014 Standard monthly service fee $5.00 You paid $0.00

The bank has waived the fee for this fee period. For the next fee period, you need to meet the requirement(s) to avoid the monthly service fee.

 

How to avoid the monthly service fee Minimum required This fee period
Have any ONE of the following account requirements
- Minimum daily balance : $300.00 $0.00 O
Daily automatic transfer from a Wells Fargo checking account $1.00 $0.00 LJ *
Save As You Go’ transfer from a Wells Fargo checking account $1.00 $0.00 L
- Monthly automatic transfer from a Wells Fargo checking account $25.00 $25.00 4
+ The fee is waived when the primary account owner is under the age of 18 (19 in
Alabama)
4Zero is displayed because you did not meet the minimum amount required for a single transaction of this type.
AM/AM

 

Did you know that you can review your safe deposit box information through Wells Fargo Online Banking? Sign on to online
banking and go to your account summary page. Check it out today.

nq

 

Considering buying your first or next home?
Whether you're just in the planning stage or you've already started looking for a home, give us a call at 1-866-582-1253 and we'll help

guide you through the process.
Case 14-50333-gs Doc 62 Entered 05/06/14 14:09:39 Page 20 of 21

 

Account number: @@MPO078 =m March 28, 2014 - March 31, 2014 _w Page 3 of 4

 

 

 

 

 

IMPORTANT ACCOUNT INFORMATION

Amendment to Funds Availability Policy - Check Deposits at a Wells Fargo ATM

Effective March 16, 2014, we will increase the amount of your deposit that is made immediately available to you when

you make a check deposit at a Wells Fargo ATM. The first $200 of a day's check deposits made at a Wells Fargo ATM will
be immediately available for your use or withdrawal on the day we receive the deposit. Cash deposits made at a Wells
Fargo ATM are always immediately available.

Sheet Seq = 0039028
Sheet 00002 of 00002
 

 

 

 

   

 

Account number: @83M0078 = m March 28, 2014 - March 31, 2014 om Page 4 of 4

 

 

 

Worksheet to balance your account

Follow the steps below to reconcile your statement balance with your
account register balance. Be sure that your register shows any interest
paid into your account and any service charges, automatic payments or
ATM transactions withdrawn from your account during this statement

period.
Enter the ending balance on this statement.

List outstanding deposits and other
credits to your account that do not appear on
this statement. Enter the total in the column
to the right.

Description Amount

Total | $ |

Add |A| and to calculate the subtotal.

{pD] List outstanding checks, withdrawals, and
other debits to your account that do not appear
on this statement. Enter the total in the column
to the right.

 

Number/Description Amount

Total | $ |

 

[E] Subtract [D] from [c] to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.

so

 

General statement policies for Wells Fargo Bank

a To dispute or report inaccuracies in information we have furnished to a
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furnished to a consumer reporting agency by writing to us at Wells Fargo
Servicing, P.O. Box 14415, Des Moines, IA 50306-3415. Please describe the
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m Incase of errors or questions about your electronic transfers,
telephone us at the number printed on the front of this statement or write
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you can, if you think your statement or receipt is wrong or if you need more
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3. Tell us the dollar amount of the suspected error.

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m_ Incase of errors or questions about your Direct Deposit Advance’
service

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Portland, OR 97228-6995 as soon as possible. We must hear from you no
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2. The dollar amount of the suspected error

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delinquent or take any action to collect the amount you question.

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